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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                         CIVIL CASE NO. 1:24-cv-22523-MOORE/Elfenbein


  KENNY ORTEGA

            Plaintiff,

  v.

  MIAMI-DADE COUNTY, a political
  subdivision in the State of Florida, and
  JOSEPH DIAZ in his individual capacity,

        Defendants.
  _____________________________________/

                  PLAINTIFF’S UPDATE/STATUS REPORT REGARDING
              DEFENDANT DIAZ’ PLEA HEARING TODAY, NOVEMBER 18, 2024

  COMES NOW Plaintiff, KENNY ORTEGA (Hereinafter “Plaintiff” or “Mr. Ortega”), by and
  through his undersigned counsel, in follow-up of the Joint Status Report filed November 14, 2024
  stating that Defendant Officer Diaz had a plea scheduled in his criminal trial for today, November
  18, 2024, and files this Plaintiff’s Update/Status Report Regarding Defendant Diaz’ Plea Hearing
  Today, November 18, 2024, and so states:


       1.   On November 14, 2024, pursuant to this Court’s Order [ECF 17], the parties filed a Joint
            Status Report [ECF 18] updating the Court regarding Defendant Officer Diaz’ criminal
            case wherein he was scheduled for trial on October 24, 2024, but continued that trial and a
            plea was set for November 18, 2024. In this case, Defendant County had filed a Motion To
            Stay Case Pending Conclusion of Criminal Proceedings [ECF 11] which Plaintiff opposed
            [ECF 14].
       2. On today, November 18, 2024, undersigned counsel for Plaintiff appeared in person at
            Defendant Diaz’ public plea hearing at the Richard Gerstein courthouse. The prosecution
            was aware of undersigned’ attendance and notified all in attendance including the Court.
       3. Defendant Diaz and his counsel appeared virtually.
       4. Defendant Diaz did not enter or accept a plea.
       5. Defendant Diaz’ counsel stated he was being instructed/advised/requested to proceed
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          differently. However, the Judge stated the case was a “2022 case” and set it for trial in
          January 2025. Defendant Diaz/counsel requested the case instead be set for trial in Febru-
          ary 2025. The Judge set the case for trial in February 2025.

                                          Respectfully Submitted this 18th day of November 2024

                                                      By: /s/ Rawsi Williams
                                                         Rawsi Williams, Esq. R.N.
                                                         State Bar No. 103201
                                                         RAWSI WILLIAMS LAW GROUP
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                                                         Ajoseph2@rawsi.com;
                                                         docservice@rawsi.com
                                                         Attorney for Plaintiff


                                    CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that a true and correct copy of the foregoing document was filed with the

  District Clerk, Florida Southern District, and served electronically on all counsel of record via the

  ECF filing system on this 18th day of November 2024.

                                                          /s/ Rawsi Williams
                                                          Rawsi Williams, Esq. R.N.
                                                          State Bar No. 103201
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                                                          Attorney for Plaintiff


  Service List
  Frank Allen, Esq., Co-Counsel for Plaintiff
  Fabiana Cohen, Esq., Counsel for Defendant Miami-Dade County



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